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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DISTRICT OF COLUMBIA


EDWARDS LIFESCIENCES
CORPORATION,
One Edwards Way,
Irvine, CA 92614

               Plaintiff,

       v.

INTERNAL REVENUE SERVICE,
1111 Constitution Ave., NW
Washington, DC 20224

               Defendant.



                                         COMPLAINT


       Plaintiff, Edwards Lifesciences Corporation (“Edwards”), brings this action under the

Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), for an order enjoining the Internal Revenue

Service (“IRS” or “Defendant”) from improperly withholding agency records and instructing

Defendant to produce those records to Plaintiff.

                                 NATURE OF THE ACTION

       1.      Pursuant to the FOIA, Edwards seeks five categories of documents in Defendant’s

possession, custody, or control that relate to Defendant’s consideration of Edwards’s

consolidated federal corporate income tax returns for the 2015–2017 tax years. Defendant has

ignored Plaintiff’s FOIA requests and failed to produce any of the requested documents

according to the statutory deadlines in the FOIA. As of the date of this complaint, Defendant has

failed to notify Edwards of a determination of whether Defendant will comply with Edwards’s
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FOIA requests. Defendant has neither invoked any FOIA exemption nor stated any reason why

Defendant cannot comply with Edwards’s requests. Edwards brings this action to compel

Defendant to disclose the records to which Edwards is entitled.

                                         JURISDICTION

       2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

                                             VENUE

       3.      Venue is proper in this Court pursuant to 5 U.S.C. § 552(a)(4)(B).

                                            PARTIES

       4.      Plaintiff is a corporation organized under the laws of the State of Delaware. It has

a principal place of business at One Edwards Way, Irvine, California 92614. It is the parent

corporation of an affiliated group that files consolidated federal corporate income tax returns.

       5.      Defendant is an agency of the United States within the meaning of 5 U.S.C.

§ 552(f)(1) and is therefore subject to the FOIA. Defendant is headquartered at 1111

Constitution Avenue NW, Washington, D.C. 20224. Defendant possesses or otherwise controls

the agency records Edwards seeks.

                                   STATEMENT OF FACTS

       6.      On January 26, 2024, Edwards submitted a letter to the IRS containing requests

for agency records in five categories.

       7.      First, Edwards requested all documents in the IRS’s possession, custody, or

control relating to the IRS’s 2015–2017 administrative audit (i.e., examination) of Edwards’s

consolidated federal corporate income tax returns (the “2015–2017 Audit File Request”).




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       8.      Second, Edwards requested all documents in the IRS’s possession, custody, or

control relating to Edwards’s administrative appeal to the IRS Independent Office of Appeals of

Defendant’s proposed adjustments to Edwards’s consolidated 2015–2017 federal corporate

income tax returns (the “2015–2017 Appeals File Request”).

       9.      Third, Edwards requested all documents contained in the IRS Advance Pricing

and Mutual Agreement Program’s File relating to Edwards’s application for a bilateral advance

pricing agreement between the United States and Switzerland covering Edwards’s 2009 through

2013 tax years (the “APMA File Request”). Edwards explained that the advance pricing

agreement process ultimately resulted in a bilateral advance pricing agreement that covered

certain transactions from 2009 through 2020.

       10.     Fourth, to the extent not covered by the first three requests, Edwards requested

any and all communications between Edwards personnel (including advisors working on

Edwards’s behalf) and personnel in the IRS Examination Division, the IRS Independent Office

of Appeals, the IRS Advance Pricing and Mutual Agreement Program, or the IRS Office of

Chief Counsel (the “Edwards–IRS Communications Request”).

       11.     Fifth, to the extent not covered by the first three requests, Edwards requested any

and all communications between or among personnel from the IRS Examination Division, the

IRS Independent Office of Appeals, and the IRS Advance Pricing and Mutual Agreement

Program regarding the 2015–2017 Audit, the 2015–2017 Appeal, and any analyses, negotiations,

or other discussions of any nature relating to Edwards’s application for a bilateral advance

pricing agreement between the United States and Switzerland (i.e., the subject of the APMA File

Request) (the “IRS Communications and Analyses Request”).




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       12.     As of the date of this filing, the IRS has yet to respond to any of Edwards’s

requests. Defendant has neither notified Edwards of Defendant’s determination of whether

Defendant will comply with Edwards’s requests nor produced any of the requested documents.

                                     LEGAL STANDARDS

       13.     A federal agency must determine whether to comply with a FOIA request and

must notify the party making the FOIA request of the agency’s determination within 20 days

after receipt of the request. See 5 U.S.C. § 552(a)(6)(A)(i); 26 C.F.R. § 601.702(c)(9)(ii).

       14.     If the agency fails to adhere to the 20-day FOIA deadline, the party that made the

FOIA request is deemed to have exhausted administrative remedies and may initiate suit in this

Court. See 5 U.S.C. § 552(a)(4)(B), 552(a)(6)(C)(i); 26 C.F.R. § 601.702(c)(12), 601.702(c)(13).

       15.     A federal agency is required to “make reasonable efforts to search for” requested

documents and to make those documents “promptly available.” 5 U.S.C. § 552(a)(3)(A),

552(a)(3)(C); 26 C.F.R. § 601.702(c)(2)(ii).

                                           COUNT I
                                       FOIA VIOLATION

       16.     Edwards incorporates by reference the allegations in paragraphs 1–15 above.

       17.     Defendant is subject to the FOIA.

       18.     As is its right under the FOIA, Edwards requested all documents within

Defendant’s possession, custody, or control included in the 2015–2017 Audit File Request, the

2015–2017 Appeal File Request, the APMA File Request, the Edwards–IRS Communications

Request, and the IRS Communications and Analyses Request.

       19.     Edwards is entitled to those agency records under the FOIA.

       20.     Defendant failed to comply with statutory deadlines imposed by the FOIA.




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       21.    Defendant failed to make reasonable efforts to search for the requested

documents.

       22.    Defendant is improperly withholding the agency records requested in violation of

the FOIA.

       23.    Edwards exhausted its administrative remedies regarding the requested agency

records that have been wrongfully withheld by Defendant.

                                   RELIEF REQUESTED

       24.    WHEREFORE, Plaintiff respectfully requests that this Court:

              (a)    Order Defendant to conduct a reasonable search for any and all documents

       responsive to Edwards’s FOIA requests;

              (b)    Enjoin Defendant from withholding and order Defendant to produce to

       Edwards the documents that Edwards seeks, in accordance with 5 U.S.C. § 552(a)(4)(B);

       and

              (c)    Award Edwards such other relief as this Court considers just and proper.




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Dated: April 2, 2024                    Respectfully submitted,

                                        GIBSON, DUNN & CRUTCHER LLP



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